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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DAVID LEE TIDWELL                                                                 PLAINTIFF
ADC #141699

V.                                NO. 4:20-cv-00787-BRW-ERE

JAMES GIBSON, et al.                                                           DEFENDANTS


                                            ORDER

       I have reviewed the Recommended Disposition (Doc. No. 195) submitted by United States

Magistrate Judge Edie R. Ervin and the filed objections. After carefully considering these

documents and making a de novo review of the record in this case, I approve and adopt the

Recommended Disposition in all respects.

       The Medical Defendants’ motion for summary judgment (Doc. No. 166) is GRANTED.

Defendant Medders’ motion for summary judgment (Doc. No. 175) is GRANTED. Mr. Tidwell’s

remaining claims1 are DISMISSED, with prejudice.

       Mr. Tidwell’s motion for a copy of the docket sheet (Doc. No. 197) and the Clerk of the

Court is directed to send him a copy of the docket sheet.

       IT IS SO ORDERED this 20th day of October, 2021.



                                                            Billy Roy Wilson__________________
                                                            UNITED STATES DISTRICT JUDGE




       1
         The Court previously dismissed Mr. Tidwell’s claims against Defendant Gibson and
Griffin based on his failure to exhaust his administrative remedies. Doc. No. 111.
